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                                                                                                   ,\n
                        IN THE UNITED STATES DISTRICT COURT
                           NORTHERN DISTRICT OF ILLINOIS
                                  EASTERN DIVISION


NU IMAGE, INC.,

       Plaintiff,
                                                  Case No.: l:17-cv-1423
v.

THE PARTNERSHIPS AND                              Judge Ronald A. Guzman
UNINCORPORATED AS SOCIATIONS
IDENTIFIED ON SCHEDULE "A",                       Magistrate Judge Sheila Finnegan

       Defendants.




                                     FINAL JUDGMENT ORDER

        This action having been commenced by NU IMAGE, INC. ("Nu Image" or "Plaintiff')

 against the defendants identified in the attached First Amended Schedule A and using the

 Defendant Domain Names and Online Marketplace Accounts (collectively, the "Defendant

 Internet Stores"), and Plaintiff having moved for entry of Default and Default Judgment against

the defendants identified in the First Amended Schedule A attached hereto (collectively, the

"Defaulting Defendants") ;

        This Court having entered upon a showing by Plaintifi a temporary restraining order and

preliminary injunction against Defaulting Defendants which included a domain name transfer

order and asset restraining order;

        Plaintiff having properly completed service of process on Defaulting Defendants, the

combination of providing notice via electronic publication or e-mail, along with any notice that

Defaulting Defendants received from domain name registrars and payment processors, being

notice reasonably calculated under all circumstances to apprise Defaulting Defendants of the
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pendency of the action and affording them the opportunity to answer and present their

objections; and

        None of the Defaulting Defendants having answered the Complaint or appeared in any

way, and the time for answering the Complaint having expired;

        THIS COURT HEREBY FINDS that it has personal jurisdiction over Defaulting

Defendants since Defaulting Defendants directly target their business activities toward

consumers in the United States, including Illinois. Specifically, Defaulting Defendants are

reaching out to do business with Illinois residents by operating one or more commercial,

interactive Defendant Internet Stores through which Illinois residents can purchase products

bearing counterfeit versions of Nu Image's trademark and copyright which is protected by U.S.

Copyright Registration No. PA-1-703-039 (the "EXPENDABLES").

        THIS COURT FURTHER FINDS that Defaulting Defendants are liable for willful

copyright infringement (17 U.S.C. $ 504), false designation of origin (15 U.S.C. g I125(a)), and

violation of the Illinois Uniform Deceptive Trade Practices Act (815 ILCS $ 510, et seq.).

       IT IS HEREBY ORDERED that Plaintiffs Motion for Entry of Default and Default
Judgment is GRANTED in its entirety, that Defaulting Defendants are deemed in default and

that this Final Judgment is entered against Defaulting Defendants.

IT IS FURTHER ORDERED that:

l.     Defaulting Defendants, their affiliates, officers, agents, servants, employees, attorneys,

       confederates, and all persons acting for, with, by, through, under, or in active concert

       with them be permanently enjoined and restrained from:

       a. using the EXPENDABLES Trademark or any reproductions, counterfeit copies or
           colorable imitations thereof in any manner in connection with the distribution,

           marketing, advertising, offering for sale, or sale of any product that is not a genuine
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        Plaintiff Product or not authorized by Plaintiff to be sold in connection with the

        EXPENDABLES Trademark;

   b.   passing off, inducing, or enabling others to sell or pass off any product as a genuine

        Plaintiff Product or any other product produced by Plaintiff, that is not Plaintiff s or

        not produced under the authorization, control or supervision of Plaintiff and approved

        by Plaintiff for sale under the EXPENDABLES Trademark;

   c.   committing any acts calculated to cause consumers to believe that Defaulting

        Defendants' products are those sold under the authorization, control or supervision of

        Plaintiff, or are sponsored by, approved by, or otherwise connected with Plaintiff;

   d.   further infringing the EXPENDABLES Trademark and damaging Plaintiffs

        goodwill;

   e.   otherwise competing unfairly with Plaintiff in any manner;

   f.   shipping, delivering, holding for sale, transferring or otherwise moving, storing,

        distributing, returning, or otherwise disposing of, in any manner, products or

        inventory not manufactured by or for Plaintiff, nor authorized by Plaintiff to be sold

        or offered for sale, and which bear any of the EXPENDABLES Trademark or any

        reproductions, counterfeit copies or colorable imitations thereof;

        using, linking to, transferring, selling, exercising control over, or otherwise owning

        the online Marketplace Accounts, the Defendant Domain Names, or any other

        domain name or online marketplace account that is being used to sell or is the means

        by which Defaulting Defendants could continue to sell Counterfeit/Infringing
        Products; and

   h. operating and/or hosting websites at the Defendant Domain Names and any other
        domain names registered or operated by Defaulting Defendants that are involved with
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            the distribution, marketing, advertising, offering for sale, or sale of any product

            bearing the EXPENDABLES Trademark or any reproductions, counterfeit copies or

            colorable imitations thereof that is not a genuine Plaintiff Product or not authorized

            by Plaintiff to be sold in connection with the EXpENDABLES Trademark.

2.      The domain name registries for the Defendant Domain Names, including, but not limited

        to, VeriSign, Inc., Neustar, Inc., Afilias Limited, CentralNic, Nominet, and the Public

        Interest Registry, within three (3) business days of receipt of this Order, shall, at

        Plaintiff s choosing:

        a. permanently transfer the Defendant Domain Names to Plaintifls control, including
            unlocking and changing the registrar of record for the Defendant Domain Names to a

            registrar of Plaintifls selection, and the domain name registrars shall take any steps

            necessary to transfer the Defendant Domain Names to a registrar of Plaintiff

            selection; or

        b. cancel the registrations for the Defendant Domain Names and make them inactive.
3.      Those in privity with Defaulting Defendants and with actual notice of this Order,

        including any online marketplaces such as iOffer and Alibaba Group Holding Ltd.,

        Alipay.com Co., Ltd. and any related Alibaba entities (collectively, "Alibaba"), social

        media platforms, Facebook, YouTube, Linkedln, Twitter, Internet search engines such as

        Google, Bing and Yahoo, web hosts for the Defendant Domain Names, and domain name

        registrars, shall within three (3) business days of receipt of this order:

        a. disable and cease providing services for any accounts through which Defaulting
           Defendants engage in the sale of counterfeit and infringing goods using the

           EXPENDABLES Trademark, including any accounts associated with the Defaulting

           Defendants listed on First Amended Schedule A attached hereto;
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        b. disable and cease displaying any advertisements used by or associated with
            Defaulting Defendants in connection with the sale of infringing goods using the

            EXPENDABLES Trademark; and

        c. take all steps necessary to prevent links to the Defendant Domain Names identified
            on First Amended Schedule A from displaying in search results, including, but not

            limited to, removing links to the Defendant Domain Names from any search index.

4.      Pursuant to 17 U.S.C. $ 50a(cX2), Plaintiff is awarded statutory damages from each of

        the Defaulting Defendants in the amount of one hundred thousand dollars ($ 100,000) for

        the willful infringement of Plaintiff s copyright which is protected by U.S. Copyright

        Registration No. PA- I -703-039.

5.      Western Union shall, within two (2) business days of receipt of this Order, permanently

        block any Western Union money transfers and funds from being received by the

        Defaulting Defendants identified on First Amended Schedule A.

6.      Amazon Payments, Inc. and PayPal, Inc. ("Amazon and PayPal") shall, within two (2)

        business days of receipt of this Order, permanently restrain and enjoin any China or Hong

        Kong based accounts connected to Defaulting Defendants, Defaulting Defendants'

        Online Marketplace Accounts or Defaulting Defendants' websites identified on First

        Amended Schedule A from transferring or disposing of any money or other of Defaulting

        Defendants' assets.

7.     All monies currently restrained in Defaulting Defendants' financial accounts, including
       monies held by Amazon and PayPal, are hereby released to Plaintiff as partial payment of

       the above-identified damages, and Amazon and PayPal is ordered to release to Plaintiff

       the amounts from Defaulting Defendants' Amazon and PayPal accounts within ten (10)

       business days of receipt of this Order.
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8.      Until Plaintiff has recovered full payment of monies owed to it by any Defaulting

        Defendant, Plaintiff shall have the ongoing authority to serve this Order on Amazon and

        PayPal in the event that any new Amazon and PayPal accounts controlled or operated by

        Defaulting Defendants are identified. Upon receipt of this Order, Amazon and PayPal

        shall within two (2) business days:

        a. Locate all accounts and funds connected to Defaulting Defendants, Defaulting
            Defendants' Online Marketplace Accounts or Defaulting Defendants' websites,

            including, but not limited to, any Amazon and PayPal accounts;

        b. Restrain and enjoin such accounts or funds that are China or Hong Kong based from
           transferring or disposing of any money or other of Defaulting Defendants' assets; and

        c. Release all monies restrained in Defaulting Defendants' Amazon and PayPal accounts
           to Plaintiff as partial payment of the above-identified damages within ten (10)
           business days of receipt of this Order.

9.      Until Plaintiff has recovered full payment of monies owed to it by any Defaulting

        Defendant, Plaintiff shall have the ongoing authority to serve this Order on any banks,

        savings and loan associations, or other financial institutions (collectively, the "Financial

        Service Providers") in the event that any new financial accounts controlled or operated by

        Defaulting Defendants are identified. Upon receipt of this Order, the Financial Service

        Providers shall within two (2) business days:

       a. Locate all accounts connected to Defaulting Defendants, Defaulting Defendants'
           Online Marketplace Accounts or Defaulting Defendants' websites;

       b. Restrain and enjoin such accounts from receiving, transferring or disposing of any
           money or other of Defaulting Defendants' assets; and
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         c. Release all monies restrained in Defaulting Defendants' financial accounts to Plaintiff
             as partial payment of the above-identified damages within ten (10) business days of

             receipt of this Order.

10.      In the event that Plaintiff identifies any additional online marketplace accounts, domain

         names or financial accounts owned by Defaulting Defendants, Plaintiff may send notice

         of any supplemental proceeding to Defaulting Defendants by e-mail at the email
         addresses identified in Exhibit 2 to the Declaration of Trevor Short and anv e-mail

         addresses provided for Defaulting Defendants by third parties.

ll.      The ten thousand-dollar ($10,000) cash bond posted by Plaintiff, including any interest

         minus the registry fee, is hereby released to Plaintiff or its counsel, Keith A. Vogt. The

         Clerk of the Court is directed to return the cash bond previously deposited with the Clerk

         of the Court to Plaintiff or its counsel by check made out to the Keith A. Vogt IOLTA

         account.

This is a Final Judgment.

                                      2017




                                            Honorable Roi-ald A. G
                                        United States District Court J
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                       FIRST AMENDED SCHEDULE A

                                    DEFENDANTS

            No.   Name/Alias
              1   BEIER official store


              3   Staryee Jewelry
              4   Bahamut Mall

              6   VNFNMI -Jewelry store
              7   Starfield Jewelry store
              8   trophy&ring AKA Andy Hu
              9   feimeng jewelry Store
             10   YUXUAN Stainless Steel Jewelry Co.,Ltd
                  TlTl aka Dongguan Changan YX Lead Top Metal
             LL   Factory
             L2   Guangzhou Noahs Ark Jewelry Co., Ltd.
             L3   Yiwu City MJ Jewelry Company Ltd.
             74   Guangzhou Longcong lmport And Export Ltd.
                  Dongguan Jaton Hardware Leather Jewelry
             15   Manufacturer
             16   Wuzhou Jiangyuan Gems Co., Ltd.
             77   Dongguan JunliJewelry Co., Ltd.
             18   Haifeng YaFeiNi Jewelry Factory
             19   Guangzhou Hotlife Jewelry Co., Ltd.
             20   Guangzhou Exquisite Jewelry Co., Ltd.
             27   Yiwu BaihuiJewelry Co., Ltd.
             22   Guangzhou Sikaida Jewelry Co., Ltd.
             23   Guangzhou lO Jewelry Co., Ltd.
             24   Dongguan Mingyue Jewelry Factorv
             25   Qingdao Green-Fresh lnternational Trading Co., Ltd.
             26   Dongguan Truthkobo Jewelry Co., Ltd.



             29   Yiwu Jojo Fashion Accessories Co., Ltd.
             30   Shenzhen Staryee Jewelry Co., Ltd.
             31   Guangzhou Bear Free Jewelry Co., Ltd.
             32   Yiwu Mecy E-Commerce Firm

             34   Yiwu RuigangJewelry Co., Ltd.
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             39   Ningbo Zhongyi Ornaments Co., Ltd.
             40   Guangzhou Zhaoxiang Jewelry Factory
             4L   Shenzhen Vlink Plastic And Hardware Gift Co., Ltd.
             42   Guangzhou Juzhiming Jewelry Co., Ltd.
             43   Yiwu Yangcan Jewelry Factory
             44   Dongguan Bao HuiJewelry Co., Ltd.
             45   Yiwu Ou Meng lmp&Exp Co., Ltd.

             47   Guangzhou Tomas Crafts Co., Limited
             48   Yiwu One GirlJewelry Co., Ltd.
             49   Yiwu Haoyu Artscrafts Co., Ltd.
             50   Dongguan O.B. Jewelry Factory
             51   Yiwu XinghuiJewelry Co., Ltd.
             52   Yiwu Tailuan E-Business Firm
             53   Shenzhen OnlyArt Jewelry Co., Ltd.

             55   Shenzhen Star Harvest Jewelry Co., Ltd.
             56   Guangzhou Lovans Jewelry Co., Ltd.



             59   Yiwu Wenice Jewelry Co., Ltd.
             50   Yiwu Qianxi E-B Firm

             62   Dongguan Minos Stainless SteelJewelry Co., Ltd.
             63   Dongguan Changan Tanaer Jewelry Factory
             64   Guangzhou Daimily Trading Co. Ltd.
             55   Yiwu Aimee Silk Flower Crafts Factory




             72   Yiwu Beichong Jewelry Factory
             73   Jinhua Sunny Jewellery Factory
             74   Yiwu Pindi Jewelry Factory
             75   Yiwu Feina E-commerce Firm
             76   Yiwu Pretty Fashion Accessories Co., Ltd.
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              77   Shenzhen TimesBrother Hardware Li mited Compa n



              80   Shenzhen Sunrising Trade Co. Ltd.
              81   Yiwu Saiying Paper Factory
              82   Shenzhen Soaring Rainbow Jewelry Co., Ltd.
              83   Yiwu Maior E-Commerce Firm
              84   Dongguan Jidian Hardware Jewelry Factory
                   Dongguan Chang'an Sundu Hardware Ornament
              85   Factory
              85   Dongguan Happymetals Jewelry lndustry Co., Ltd.



              89   Yiwu Queena Garment & Accessories Factory
              90   Dongguan Sissi Jewelry Company Limited
              91   Dongguan Aicong Jewelry Co., Ltd.
              92   Yiwu Daiqi Jewelry Factory
              93   Dongguan Jinjing Hardware Jewelry Factory



              96   Yiwu Guangcui Jewelry Factory
              97   Yiwu Yuzhen Jewelry Factory



             100   Guangzhou Exquisite Jewelry Co., Ltd.

             103   Dongguan Dianzui Jewelry Co., Ltd.
             to4   Dongguan BaiFu SteelJewelry Co., Ltd.
             10s   Guangzhou Boojew Jewelry Co., Ltd.

             707   Shenzhen Golden Fly Teng Jewelry Co., Ltd.
             108
             109   Xi'an GuoziTrading Co., Ltd.



             712 Shenzhen Sinlifu Opal Jewelry Co., Ltd.
             113 havinchan
             LL4 xiang-hongjunT
             L15 fugui-live
             L76 beautylife-bobo2010




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             118          lry-boutique
             119 eternallove90
             \20 hellende1358
             t2L omg deal*
             L22 fashion*gift
             L23 for.you.good


             L25 gemsassist
             126 Huayanpan
             727 sunnydreamworld
             L28 paly-555
             L29   bluceli
             130   Topstar Wholesale




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